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      Special Civil Suit no. 440/2017

           IN THE COURT OF CIVIL JUDGE, SENIOR DIV. NASHIK
                                    AT NASHIK
                     SPECIAL CIVIL SUIT NO. 440 OF 2017




                                                IN THE MATTER OF PLAINT
                                         FOR    COMPENSATION       OF   RS.
                                         50,00,000/- FOR DEFAMATION AND
                                         PERMANENT INJUCTION




      1.    Kunal Raina

      Age: 32, Occupation: Business

      Residing at: C 503 Rosemary GreenLands,

      PMC Garden, Rahtani Road, Pimple

      Saudagar, Pune – 17
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2.    Abhijeet Bhausaheb Dighe

Age: 33, Occupation: Business

Residing at: 93, GulmoharVihar Colony,

Pipe Line Road, Nashik -7

      …Plaintffs




                                VERSUS

1) Bulletlink Technologies, a partnership firm

2) Mr. Salim Ibrahim Sindhi,

Age: 55, Occupation: Business partner

2) Mrs. ParveenSalim Sindhi,

Age: 50, Occupation: Business partner

No.2 & 3 both partners of Defendant no. 1

Both residing at:

Patil Nest No. 16, Near NavshyaGanapati,

Gangapur Road, Anandawali,

Nashik - 422013

                                                            …Defendant

Suit claim: - for declaration, consequential injunction and damages of Rs.
50,00,000/-




THE PLAINTIFFS MOST RESPECTFULLY STATE THAT;

1)    The Plaintiff no.1, age 32, is an Indian National, and proprietor of
TechCruiser Solutions which is a Content Management Service software
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      (CMSsoftware), which serves as an online platform for its customers to host
      their magazines, newspapers, bulletins, newsletters and other content. The
      Plaintiff no. 2, age 33, is an Indian National and a businessman. Plaintiff no. 1
      and 2(hereinafter together referred to as “the Plaintiffs”). That Plaintiffs were
      temporary employees of the Defendantno. 1 and had no service agreement,
      contract and non-compete clause with the Defendant. Based on his knowledge
      of Open-source CMSsoftwares already available in the market, (such as
      Wordpress, Joomla, Drupal etc.) the Plaintiff no. 1 in his free time studied the
      current developments in IT technology and worked for his own business during
      his free time at his own place.It is to be noted that the Plaintiffs did not copy,
      use, steal, or misappropriate any source code from the Defendant’s company. In
      fact, time and again the Plaintiffs have requested various fora, within India or
      abroad, to compare their software with the Defendant’s software to find any
      similarities in the two, if any.


      2)     Plaintiff no1 spent huge sum of money on developing, promoting and
      advertising his CMS Software Tech-Cruiser. Due to the superior qualityof this
      Content Management System and their efficient and personalized service, the
      Plaintiff no1 soon managed to get a client base spread across the globe.The
      saidCMS software is registered with the Copyright Registry. Registration
      certificate of copyright of TechCruiser software is annexed hereto and marked
      as “Annexure-1”



      3)     On 26th February 2013, The Defendant filed an FIR against the Plaintiff
      no. 2 at Sarkarwada Police station, Nashik. The said FIR was registered under
      sections 65, 43(j) and 66 of the IT Act and Section 381 and 406 of the IPC
      alleging theft of the Defendants’ software and some information. The Plaintiff
      no. 2 was not given any intimation of such FIR being filed nor was he
      summoned to the Police station. In fact, late at night on the same day, the police
      along with Defendant no.2Mr. Salim Sindhi and his few associates came to the
      Plaintiff no. 2’s residence. Even though he was utterly perplexed at this turn of
      events, the Plaintiff no.2 offered to fully cooperate with the Police and their
      investigation.However, he wasn’t given any chance to explain himself. Despite
      of him promising complete co-operation, the plaintiff no.2 was taken into the
      police custody on the above mentioned charges. While in custody, the Plaintiff
      no.2 was not given any opportunity to explain himself or to contact his lawyer.
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The Plaintiff no.2 remained in the police custody for two days and was released
later on bail. This entire ordeal caused Plaintiff no. 2 tremendous agony, trauma
and emotional distress. In addition to the emotional and mental distress, his
reputation was maligned in the public and caused irreparable damage to his
public image as well as his career.,Annexed hereto and marked as “Annexure-
2” is the copy of the said FIRno I62/2013dated 26rdFebruary, 2013.Thereafter,
The Plaintiff no.2 immidiately applied for bail and the hon’ble magistrate was
pleased to grant the same. After getting to know about the ordeal of Plaintiif no.
2, the Plaintiff no. 1 immidiately applied for anticipatory bail which the hon’ble
District and Sessions Court of Nashik, was pleased to grant vide Order dated.
12th March, 2013.




4)     On 3rd April, 2013, almost one and half month after the above mentioned
FIR was filed,an article was published in the Lokmatnewspaper titled “Cyber
Crime complaint registered at Sarkarwada police station. The article mentioned
thatthe Plaintiff no. 2, Mr. AbhijeetDighe who was at that time an employee of
the Defendantcompany, stole the source code of the Defendant’s CMS software
named Bulletlinkand provided it to techcruiser.com. First of all, this outrageous
article was absolutely baseless and contained heavily altered facts. It came as a
great shock to the Plaintiffs. Further, it caused great distress as it maligned and
irreparably damaged the Plaintiff no. 2’s reputation in the public. The article
completely disrupted his social life and caused him tremendous mental and
emotional trauma. Further, the Plaintiffs’ business was presented to the public
and potential clients in an extremely bad light due to which his business
suffered a great deal. A copy of the said newspaper article obtained from the
archives of Lokmat office along with their receipt is annexed hereto and marked
as “Annexure-3”


5)     It is pertinent to point out that prior to filing the above mentioned FIR
with the Sarkarwada Police Station Nashik, the Defendant seized the hard drive
from Plaintiff no.2’s office computer, and sent it to Pune for a private forensic
analysis on 9th January, 2013. The said hard drive was not handed to the Police
right away. The punchnama was conducted by the Police on 27th February,
2013copy of which is annexed hereto and marked as “Annexure-4”. It is
pertinent to note here that the Defendant was in possession of the Plaintiff
no.2’s hard drive for approximate span of one and half month and instead of
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      approaching proper authorities to determine theft or infringement, the
      Defendant chose to conduct a private investigation.


      6)      On 23rd November 2013, the Defendant filed yet another complaint
      before the Hon’ble Secretary (IT) and the Adjudication Officer atMantralaya,
      Mumbai, under the IT Act 2000 under sections 43(j) & 85. The Defendant
      moved     for   permanent    injunction   and    claimed   hefty    damages    of
      INR1,10,00,000(Rupees One Crore Ten Lakhs only). At the said time, the
      adjudicating officer, at the time of the hearing, directed the parties to submit
      their respective source codes to conduct forensic analysis of both the source
      codes to determine the alleged theft or infringement of copyright. The Plaintiff
      readily submitted his source code for the investigation. The copies of
      communication between the Investigating Officerappointed in this respect and
      the Plaintiff no. 1 are annexed herewith and collectively marked as “Annexure-
      5colly” which clearly indicated that the Plaintiff readily submitted their source
      code and all the other documents required. However, the Defendant outrightly
      denied to submit his source code. Thereafter, the Hon’bleAdjudicating Officer
      was pleased to dismiss the said matter and passed anOrder in favor of the
      Paintiffs. It was stated in the Order that the Defendant was not able to prove the
      allegations of theft of source code or use of their source code by the Plaintiffs.
      The copy of the said Order dated 15Jan 2015is annexed hereto and marked as
      “Annexure- 6”. It is pertinent to note here that the Defendant was reluctant and
      refused to hand over the Bulletlink source code for an analysis. The side-by-
      side comparison of the two disputed software’s was crucial in this case to
      determine infringement. Despite of being fully aware of this fact, the Defendant
      time and again avoided comparing the two softwares.This behavior is a clear
      indication that the Defendant was fully aware that the two softwares are
      completely different and that the Plaintiffs have not stolen any vital information
      or source code from the Defendant company.


      7)      In January, 2016the Defendant approached the Nasik District Court and
      filed a copyright infringement suit against the Plaintiffs. The Defendants also
      filed an application for interim injunctionunder Ex. 5 along with the said Plaint.
      The Hon’bleDistrict Court vide its order dated 30th April, 2016 dismissed the
      said interim application and stated that the Defendant failed to make out any
      case for injunction. The Copy of the said interim Order of the Hon’ble Court is
      annexed hereto and marked as “Annexure- 7”. In the same suit, the Defendant
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made false statements that his Nashik office was forced to shut down due to
Plaintiffs business activities whereas it was shut because of some trouble with
the Nasik Municipal Corporation and the office builder. This conduct of the
Defendant goes on to show that the Defendant is a quarrelsome person who
enjoys harassing people and does not hesitate to file false, frivolous, vexatious
and mischievous complaints and litigation to coerce people into submitting to
his will.



8)     In May 2016, the Plaintiff no 1 received a summons from the District
Court of Texas, United States of America where the Defendants had filed a
copyright infringement suit against the Plaintiff no 1. Copy of the Defendant’s
plaint dated 5th October, 2015 is annexed hereto and marked as “Annexure- 8”.
Plaintiff no 1 is an Indian resident. In fact, hehas never travelled to any other
country. Moreover, the Plaintiff no1 has no place of business in Texas, USA.
Being an online content hosting service, his business is entirely run online and
caters to clientele from all around the world from their online platform. The
Plaintiffs business at that stage was merely a startup and he did not have
financial backing to hire an attorney in the USA to represent them in the Court.
The Plaintiff through his attorney in India sent their initial pleadings in the said
suit by courier service which was received by the District Court of Texas, USA
on 21st June 2016. Since the Plaintiff and his attorney in India were not well
versed with the procedure in the US, they failed to comply with certain
procedural requirements such as filing the Certificate of Interested Persons
along with their written pleadings. The District Court of Texas vide its order
dated 29th September, 2016 informed the Plaintiffs about the necessary
documents to be filed. Unfortunately there was a delay on the part of Plaintiffs
in filing necessary documents which led to the Hon’ble Judge, District Court of
Texas, USA to give a default Order of Permanent Injunction against the
Plaintiff since they failed to represent within stipulated time. Copy of the said
Order dated 21st November, 2016 is annexed herewith and marked as
“Annexure- 9”. It can be clearly establish by looking at the Defendant’s plaint
(at Annexure- 8) that the Defendant conveniently failed to mention the
litigation pending before the Nashik Court or Orders passed by various fora in
this matter which were all in favour of the Plaintiffs. The Defendant suppressed
vital material information from the Texas District Court. This only goes on to
show the malafide intentions of the Defendant. The Defendant clearly tried to
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      take advantage of the Plaintiffs helplessness in a foreign country and before a
      new forum only to pressurize them further and putting an end to their business.
      The Defendant,in fact, abused the process of law by going for multiple
      proceedings for the same case by suppressing the material factsand obtained
      prohibitory Orders to suppress he plaintiff with only intention to harass the
      Plaintiff and bring his business to disrepute.
      9)     As soon as the Plaintiff became aware of the default judgment of the
      Ho’ble District Court of Texas, USA, the Plaintiff took the necessary action and
      filed an application through their attorney to set aside the impugned order dated
      21st November 2016. The Hon’ble Court rejected the Plaintiffs’ motion to
      overturn the default judgment.


      10)    Plaintiffs filed a motion with the hon’ble District Court of Texas, USA,
      to hear the case on its merits but the Hon’ble Court, despite of the Plaintiffs
      repeated requests, refused to hear the matter on merits. The copy of the said
      Order dated 27the October, 2017 is annexed hereto and attached as “Annexure-
      10”. The Hon’ble Court was however pleased to grant the Defendant’s motion
      to claim damages and to enter into final judgment and directed the Plaintiffs to
      pay damages worth USD 1,393,494.00i.e approx. INR 9,00,83,116.38 (Rupees
      Nine CroreEighty Three Thousand One Hundred Sixteen and Thirty Eight Paise
      only)to the Defendant vide its Order dated 6th Nov 2017. Copy of the order is
      annexed hereto and marked as “Annexure- 11”.



      11)    The Plaintiff on 21st Nov 2017 filed a motion andnotice of appeal to the
      Fifth Circuit Courts against the Order passed by the District Court of Texas.
      Thesaid Order dated 6th Nov 2017 was passed on procedural and technical
      grounds without allowing the Plaintiff a chance to be heard on merit. The
      Defendant filed this suit in a foreign Court with complete awareness that the
      Plaintiffs are unaware of the US Laws and procedure and that they are
      financially not capable of affording a US attorney. This goes on to further prove
      that the Defendant was only interested in scaring and harassing the Plaintiffs in
      order to prevent them from carrying out their business.The Defendant
      suppressed material facts from the US Court regarding the Orders passed by
      various Indian Courts and litigation pending back in Nashik Courts. (Copyright
      Suit no 01/2016)
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12)    It is pertinent to reiterateand point out that the Defendant is not the first
or the only online service provider to host contents of newspapers, magazines
or newsletters online. There are many entities that provide the said services. It
is crystal clear from the Defendant’s actions that it is an attempt of suppressing
competition and disrupting the business of their competitor by filing false
complaints and suits. The Defendant is clearly forum shopping and filing
litigations at every possible platform with a sole intention to harass the
Plaintiffs emotionally, mentally and monetarily and to distract them from their
business. The Defendant is very well aware that the repeatedly filing suits and
complaints in every possible forum is going to drain the Plaintiff financially and
would eventually result into bankruptcy which will put an end to their business.
The Defendant is filing the malicious suits in the market with a sole intention to
remove a tough competitor from the market and steal their clients.



13)    In fact, on December 2016, The Plaintiffs were informed by several
clients and their service providers that they are receiving emails from The
Defendant’s attorney. On 1st December 2016, The Defendant’s attorney wrote
an email to the Plaintiff’s payment gateway service Paypal insisting that the
Plaintiffs’ have stolen their software and their trade secrets. The email stated
that “…….Mr. Raina was an employee for Bulletlink. He gained access to
highly confidential information and trade secrets belonging to Mr. Sindhi and
Bulletlink, illegaly copied and misappropriated that information and used it to
form his own competing business named TechCruiser… which he developed
and operated from Bulletlink’s offices. Techcruiser offers same types of services
and products as Bulletlink…”. Further it was stated in the email that “… the
Court has now ruled in favor of Mr. Sindhi and the purpose of this letter to give
you notice that on November 21st 2016 the Court entered a permanent
injunction against Mr. Raina………”            In the said email the Defendants
threatened the payment gateway service Paypalwith contempt of Court and
asked them to deactivate the Plaintiffs’ account and freeze their funds till the
Court orders them to turn over to Bulletlink. The email was written after the
Default judgment was passed by the Hon’ble Texas Court on 21st Nov 2016.
The said email was written in extremely defamatory manner and projected the
Plaintiffs and their business in a bad light. Moreover, the email conveniently
failed to mention that the said order was made in default due to delay of
representation on Plaintiff’s behalf. Also it suppressed the facts about the
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      litigation pending in Nasik District Court or the Orders obtained in India in
      Plaintiff’s favor. After receiving the said email from the Defendant’s attorney,
      Paypal wrote to the Plaintiffs and ceased to provide any service to Plaintiff.
      Their account with Paypal was permanently deactivated and their funds were
      frozen causing Plaintiff great monetary loss. Also, the order passed by the court
      was not the final order and Defendant had no right to circulate the same before
      the final judgment.TheDefendant’s email is annexed hereto and marked as
      “Annexure- 12”


      14)    The Defendants have sent a series of defamatory, threatening emails to
      many clients of Techcruiser and succeeded in deceiving them and convincing
      them to end their business arrangement with the Plaintiff and joining the
      Defendant’s business by switching to Bulletlink. Quoting one such email dated
      1st December 2016 “…you are invited to contact Mr. Sindhi to discuss how
      Bullentlink may assist you in continuing to enable your online publication by
      switching to Bulletlink without any interruptions..” In another email dated 1st
      February, 2017 The Defendant stated that “The United States District Court has
      entered a Permanent ban against TechCruiser.com owner KunalRaina
      prohibiting him from using CMS product or services that he stole from
      bulletlink.com”, further it is stated that “We have some clients from
      TechCruiser.com who switched to us without data/archives/new domains, not
      wanting to associate themselves with a fraud company”the impugned email
      also goes on to state that “techcruiser.com runs on a stolen source code and
      for which Plaintiff no 1 faces 7 years in jail”. In another email dated 11th
      February, 2017 the Defendant’ has stated that “KunalRaina is complaining
      about expenses inspite of making thousands of dollars per month from stolen
      CMS system from bulletlink.com and serving it to US clients. KunalRaina
      (TechCruiser.com) creates the impression that TechCruiser is a US based
      company by listing a New York address as its business address on the
      TechCruiser.com contact page and by listing a US telephone number as it
      business   number.    The   actions   appear    to   be   designed   to   deceive
      TechCruiser.com clients, most of whom are located in the US” Copies of the
      emails sent by the Defendant’ to the plaintiffs’ clients including the ones quoted
      above are annexed hereto and collectively marked as “Annexure-13 (colly)”


      15)    It is to be noted that all the above emails were already sent before the
      Texas District Court could enter into a final judgment. The Defendant directly
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approached the Plaintiffs’ Clients and service providers through these emails
and made extremely derogatory, false, frivolous and malicious comments about
the Plaintiffs’ business. Moreover, the Defendant has yet again suppressed
material facts from the Clients pertaining to the pending litigation and Order
passed by the Nashik District Courts in the said matter. This act of the
Defendant makes it crystal clear that the Defendant is only interested in
eliminate competition from the market and poaching the Plaintiffs’s clients. The
Defendant’s derogatory emails portrayed the plaintiffs’ business in extremely
bad-light which caused them to suffer immense loss of reputation as well as
money as many of the Plaintiffs’ clients opted to switch to the Defendant’s
software Bulletlink.



16)    The Defendants are strategically bad-mouthing the Plaintiffs and their
business to their clients by providing them with false information, hiding vital
information from them, threatening them about contempt of Court and
convincing them to switch to Bulletlink.Annexed hereto and marked as
“Annexure-14” is the list of some of the clients which Defendant diverted from
Plaintiff no 1. After a series of defamatory emails(calling plaintiffs company as
a fraud company and its product as a stolen CMS system) by Defendant to the
plaintiff’s clients, plaintiff has lost his reputation in the newspaper publishing
industry and his hard earned trust among the clients and other publishers. Due
to which many clients have stopped their services with the plaintiff and
switched their sites to defendant or other service providers causing great
financial loss to the plaintiff.


17)     On 8th April, 2017, The Plaintiff received a notice from Google that they
had received a legal complaint from the Defendant, which resulted in Google
blocking the Plaintiff no 1’s site www.techcruiser.com from their US search
engine. It is needless to say that for any online service provider Google is one
of the best sources to connect with potential customers. Therefore, after being
banned from the search engine they have lost means to connect with their
customers and potential clients overseas. Their business has suffered huge
losses. Again, the Defendant acted recklessly and emailed the default order
which was not the final judgement. The email from Google dated 8th April,
2017 is annexed herewith and marked as “Annexure- 15”
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      18)   The Defendant also obtained username and password from one of
      TechCruiser’s customers and used their login details to hack the Plaintiff no 1’s
      websites. The Defendant logged into the techcruiser CMS illegally multiple
      times and stole confidential information from it.The Defendant has gone to an
      extent to hack into the Plaintiff systems, took screenshots of the dashboard and
      implemented the same on his software to make it look identical.This can be
      described fraud committed out of nothing but jealousy and malicious intent to
      end the Plaintiffs business as it poses to be a competition to the Defendant’s
      business. This is a serious invasion of privacy of the Plaintiffs. Details of all
      such hacking attempts are attached herewith and marked as “Annexure-16”.


      19)   The Plaintiffs are young entrepreneurs. They have worked very hard on
      developing their software and they strive to provide their clients with quality
      services and to honestly conduct their business. The Plaintiffs have spent a huge
      sum of money on advertising and marketing their services to the public. The
      Plaintiffs’ software is in no way copied from the Defendant’s software. The
      Plaintiffs have spent considerable time on developing their own unique source
      code and they have not used any technical know-how or any other aspect of the
      Defendant. The Hon’ble adjudicating officer of the IT department, Mantalaya
      and The Hon’ble District Court, Nasik (Mrs. Urmila Joshi-Phalke) have come
      to an unmistakable conclusion in their respective orders dated 15th January,
      2015(Annexure-6) and 30th April, 2016 (Annexure-7) that there are no
      similarities between the two softwares. Therefore, the Defendant is using
      variety of techniques only and only to harass the Plaintiffs and with an ulterior
      motive to shut their business and avoid competition.



      20)   The Defendant went to an extent of filling frivolous suits in the District
      Court of Texas being fully aware that the Plaintiffs have no idea about the
      procedure, that they have no financial backing to afford to hire an attorney to
      represent them in the Court. The Defendant suppressed material facts from the
      Court by completely failing to mention the litigation pending in India or the
      orders passed by the Indian Courts. The Defendants are now directly
      approaching the Plaintiffs’ clients and their service providers and threatening
      them with contempt of Court and giving them defamatory information about the
      Plaintiffs. Because of The Defendant’s tactics, the Plaintiffs’ business has
      suffered irreparable loss of reputation and huge pecuniary loss. The Plaintiffs
      are unable to acquire new customers, advertise their product. The Plaintiffs are
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suffering from tremendous mental and emotional trauma. The relentless
attempts of the Defendant have also maligned their image in the public which
has affected their social as well as professional life.



21)    That the cause of action for the present suit first arose when the
Defendant by managing the local Police caused an illegal arrest of the Plaintiff
no. 2, It also arose from time to time on the various dates mentioned in the body
of Plaint and is continuously arising as the Defendant is still prevailing over
number of clients of the Plaintiff and the suit is brought in this Hon’ble Court as
the defendants are residing at Nashik and carrying on their business within the
territorial jurisdiction of this Hon’ble Court at Nashik.


22)    Since the Plaintiffs’ suit is valued at more than Rs. 5,00,000/- in the
special jurisdiction of this Hon’ble Court, and this Hon’ble Court is entitled to
entertain, try and decide the present suit.


23)    The Plaintiffs suit suffers no bar of Law of Limitation.


24)    The present suit is valued for Rs 50,00,000/- ( Rs. Fifty Lakh Only)
therefore the Court fee payable for the said suit is Rs. 73,320/- (Rs. Seventy
Three Thousand Three Hundred Twenty Only) which has been duly paid.


25)    It is therefore prayed that,
(a)    It may please be declared that the article published in daily Lokmat dated
 rd
3 April, 2013 and such other communications issued by the Defendant to
Plaintiff’s clients and other service provider is a defamation resulting loss of
reputation to the Plaintiffs and hence is an illegal act;

(b)    that the Defendants be directed to pay an amount of Rs. 50,00,000
(Rupees Fifty Lakh Only) as compensation towards damages and loss of
reputation, as set out in the body of the Plaint;

(c)    that from the institution of this suit till the date of disposal the Defendant
be directed to pay the interest at the rate of 12% per annum on the amount of
compensation;



(d)    that an Order of permanent injunction may be passed restraining the
defendant from issuing any such letters/communications to the Plaintiff’s Client
& their Business Associates, further threatening them with contempt of court
and/or misrepresenting the facts and;
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      (e)    that pending the final hearing & disposal of this suit the defendant be
      temporarily restrained from issuing any letters/communications to the
      Plaintiff’s Client & their Business Associates, further threatening them with
      contempt of court and/or misrepresenting the facts and;



      (f)     That the defendants’ be saddled with cost of the suit;


      (g)     Any other relief as this Hon’ble Court may deem fit.



      NASHIK

      Date:                                             Plaintiff                  no.1
      ________________

      ( Mr. Kunal Raina)



                                                        Plaintiff        no.           2
      ________________

       ( Mr. Abhijeet Dighe)




                                     VERIFICATION
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I, Abhijeet Dighe, Indian National, R/o : Nashik the Plaintiff no. 2 above
named do hereby solemnly affirm and verify that whatever stated in
foregoing paragraph nos. 1 to 25 are true and correct to best my
knowledge and belief.

In witness whereof, I have signed hereunder on this     day of November
2017 at Nashik.




                                                         Plaintiff

Accompaniments :
1.    Plaint in duplicate together with court fees stamp, process fees and
affidavit U/s 26 (2) C.P.C. 1908.
2.    Vakalatnama.
3.    List of documents.
4.    Memo of address.




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